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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION



   BRIAN RATVASKY,

         Plaintiff,

   v.                                              CASE NO. 8:16-cv-2398-T-23MAP

   THOMPSON GLOBAL
   PARTNERS, LLC, et al.,

         Defendants.
   ____________________________________/

                                        ORDER

         Because the proposed FLSA settlement (Doc. 25-1) reasonably resolves the

   plaintiff’s claims, the motion (Doc. 25) for approval of the settlement is GRANTED,

   and the settlement is APPROVED. The action is DISMISSED WITH

   PREJUDICE, and the clerk is directed to close the case.

         ORDERED in Tampa, Florida, on April 10, 2017.
